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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

IN RE:                                             )       Chapter 7 Case
                                                   )
MICHAEL A. PELLEGRINO                              )       Case No. 18-08362
                                                   )
Debtor.                                            )       Honorable LaShonda A. Hunt
                                                   )       Hearing Date: Thursday
                                                   )       November 15, 2018 at 10:00 a.m.

                                    NOTICE OF MOTION

         PLEASE TAKE NOTICE that on Thursday, November 15, 2018 at 10:00 a.m., or as
soon thereafter as counsel may be heard, we shall appear before the Honorable
LaShonda A. Hunt, Courtroom 719, United States Courthouse, 219 South Dearborn, Chicago,
Illinois, or before any judge who may be sitting in his place or stead, and shall then and there
present the Motion of Philip V. Martino, Chapter 7 Trustee, to Approve Settlement under
Bankruptcy Rule 9019 with Michael Hand, a copy of which is attached hereto and hereby
served upon you, at which time and place you may appear as you see fit.

Dated: October 24, 2018                            PHILIP V. MARTINO, Trustee


                                                   By:     /s/ Philip V. Martino
                                                           One of his attorneys

Philip V. Martino
Travis J. Eliason
QUARLES & BRADY LLP
300 N. LaSalle Street, Suite 4000
Chicago, Illinois 60654-3406
(312) 715-5000




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                                  CERTIFICATE OF SERVICE

        Travis J. Eliason, an attorney, certifies that on October 24, 2018, he caused the Notice of
Motion for the Motion of Philip V. Martino, Chapter 7 Trustee, to Approve Settlement
under Bankruptcy Rule 9019 with Michael Hand, to be served by operation of the Court’s
electronic filing system to all ECF recipients registered in this case.

    •   Richard H. Fimoff                     rfimoff@rsplaw.com
    •   Patrick S. Layng                      USTPRegion11.ES.ECF@usdoj.gov
    •   Jonathan E. Aberman                   jaberman@dykema.com
    •   Maria A. Diakoumakis                  mdiakoumakis@dykema.com
    •   Michael A. Pellegrino                 m.pellegrino3@gmail.com

In addition to the ECF service, the following parties on the attached service list were served by
U.S. mail on October 24, 2018.

VIA U.S. MAIL

Michael A. Pellegrino
651 S. Sutton Road, #209
Streamwood, Illinois 60107-2366


      AMITA Healthcare                    AMITA Healthcare               Advocate Good Shepherd Hospital
     22589 Network Place           Alexian Brothers Medical Center        2701 High Point Dr., Suite 124
    Chicago, IL 60673-1225             3040 W. Salt Creek Lane                Lewisville, TX 75067
                                   Arlington Heights, IL 60005-1069


Advocate Good Shepherd Hospital         Advocate Health Care                      Alexian Brothers
         P.O. Box 4248                     P.O. Box 3039                     St. Alexius Medical Center
  Carol Stream, IL 60197-4248          Hinsdale, IL 60522-3039                     P. O. Box 3495
                                                                              Toledo, OH 43607-0495

          Athletico                Best Practices Inpatient Care, Ltd.     Bryce, Downey, Lenkov LLC
      709 Enterprise Dr.                     P.O. Box 268                 200 N. LaSalle Street, Suite 2700
   Oak Brook, IL 60523-8814          Lake Zurich, IL 60047-0268               Chicago, IL 60601-1099

       City of Chicago              Creditors Discount & Audit Co.               Lavely & Singer
  Emergency Medical Services                415 E. Main St.              2049 Century Park East, Suite 2400
     33589 Treasury Ctr.                     P.O. Box 213                  Los Angeles, CA 90067-3126
   Chicago, IL 60694-3500              Streator, IL 61364-0213

         Lincare Inc.                        Lincare Inc.                      Mercy Health System
 3556 Lakeshore Rd., Suite 214            P.O. Box 105760                     1000 Mineral Point Ave.
   Buffalo, NY 14219-1400              Atlanta, GA 30348-5760                Janesville, WI 53548-2940




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     Mercy Health System                   Michael D. Hand               Michael Hand c/o Law & Stein
         P.O. Box 5003               100 Corporate Pointe, Suite 210     2601 Main Street, Suite 1200
   Janesville, WI 53547-5003          Culver City CA 90230-8754             Irvine, CA 92614-4240

    MiraMed Revenue Group            MiraMed Revenue Group, LLC            Northwest Neurology Ltd.
          Dept. 77304                      360 E. 22nd St.               22285 Pepper Road, Suite 401
        P.O. Box 77000                 Lombard, IL 60148-4924             Barrington, IL 60010-2542
    Detroit, MI 48277-0304

Northwestern Med Fac Foundation     Northwestern Med Fac Foundation     Northwestern Memorial Hospital
       38693 Eagle Way                  Professional Billing Dept.            P. O. Box 73690
    Chicago, IL 60678-1386           680 N. Lake Shore, Suite 1000         Chicago, IL 60673-7690
                                         Chicago, IL 60611-8709

   Premier Arlington Heights           Prescription Partners, LLC        Regency Medical Center, P.C.
       P.O. Box 674242                  Post Office Box 166363               200 Fox Glen Drive
    Dallas, TX 75267-4242               Miami, FL 33116-6363              Barrington, IL 60010-1809

    Shuki Levy Productions             St. Alexius Medical Center          St. Alexius Medical Center
       Logan M. Elliott                   22589 Network Place          Attn: PFS Alexian Assistance Team
 2049 Century Park East, #2300          Chicago, IL 60673-1225              3040 W. Salt Creek Lane
  Los Angeles, CA 90067-3125                                           Arlington Heights, IL 60005-1069

      St. Joseph Hospital Pl.         State Collection Service, Inc.      State Collection Service, Inc.
    2900 N. Lake Shore Drive             2509 S. Stoughton Rd.                   P.O. Box 6250
     Chicago, IL 60657-6274            Madison, WI 53716-3314              Madison, WI 53716-0250

  Suburban Orthopaedics LLC              Wheaton Eye Clinic
    1110 West Schick Road               2015 North Main Street
    Bartlett, IL 60103-3007             Wheaton, IL 60187-3190

Parties may access this filing through the Court’s system.

                                              /s/ Philip V. Martino
                                              Philip V. Martino

I SWEAR UNDER PENALTY OF PERJURY
THAT THE FOREGOING IS TRUE AND CORRECT

Philip V. Martino
Travis J. Eliason
QUARLES & BRADY LLP
300 N. LaSalle Street, Suite 4000
Chicago, Illinois 60654-3406
(312) 715-5000




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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IN RE:                                                )      Chapter 7 Case
                                                      )
MICHAEL A. PELLEGRINO                                 )      Case No. 18-08362
                                                      )
Debtor.                                               )      Honorable LaShonda A. Hunt
                                                      )      Hearing Date: Thursday
                                                      )      November 15, 2018 at 10:00 a.m.

                          MOTION OF PHILIP V. MARTINO,
                CHAPTER 7 TRUSTEE, TO APPROVE SETTLEMENT UNDER
                   BANKRUPTCY RULE 9019 WITH MICHAEL HAND

        Philip V. Martino, the duly appointed and serving Chapter 7 trustee (“Trustee”) for the

estate of the above-captioned debtor (the “Debtor”), by his attorneys, respectfully requests that

the Court enter an Order, pursuant to Bankruptcy Rule 9019, approving the settlement set forth

below reached between Trustee and Michael Hand (“Hand”). In support, Trustee states:

                                            Jurisdiction

        1.       This Court has jurisdiction pursuant to 28 U.S.C. §§ 157 and 1334(a) and Internal

Operating Procedure 15(a) of the United States District Court for the Northern District of

Illinois.

        2.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.       This motion is a core proceeding pursuant to 28 U.S.C. § 157(b).

        4.       The statutory basis for the relief requested herein is Federal Rule of Bankruptcy

Procedure 9019.




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                                           Background

        5.      On March 22, 2018, (the “Petition Date”), the Debtor, through counsel, filed a

voluntary petition for relief under Chapter 7 of the United States Bankruptcy Code, 11 U.S.C. §§

101 et seq. (the “Bankruptcy Code”), and Trustee was appointed.

        6.      On August 15, 2018, counsel for the Debtor was granted leave to withdraw. See

Dkt. No. 39. Debtor has not retained separate counsel since that time.

        7.      According to the Debtor’s schedules, the Debtor asserts that he has: (a) a 100%

ownership interest in Relentless Entertainment, LLC (“Relentless”); (b) a 49% ownership

interest in Wonderfish Media, LLC (“Wonderfish”); and (c) an ownership interest in certain

intellectual property concepts more fully described in Section 26 of Schedule A/B (the “IP”). See

Dkt. No. 1, Schedule A/B, pp. 3-4.

        8.      Hand asserts that the Debtor has no interest in Relentless or Wonderfish. Rather,

Hand asserts that the Debtor was formerly the non-equity owning manager of Relentless until

being removed by Hand; that Wonderfish is equally owned by Relentless and an unrelated third

party limited liability company; and prior to being removed by Relentless, the Debtor acted as

Relentless’ representative for co-management of Wonderfish.

        9.      Hand also asserts that Relentless bought and paid for the IP directly from its

creator, Shuki Levy (“Levy”), and that the Debtor has no interest in the IP.

        10.     Hand next asserts that certain funds belonging to Relentless were fraudulently

converted and used by the Debtor to purchase two residences in Bartlett, Illinois (the “Real

Property”), originally in the names of the Debtor’s mother, in one instance, and the Debtor and

his wife, in the other instance. Hand asserts that, based upon the Debtor’s alleged use of

Relentless’ funds for the acquisition of the Real Property, Relentless is the equitable owner of the




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Real Property and all causes of action related to the purportedly converted funds (the “Causes of

Action”), and that the bankruptcy estate has no claim to either the Real Estate or the Causes of

Action.

          11.   Lastly, Hand asserts that he owns a minority interest in The Authors World, LLC

(“TAW”), and that, although Debtor has not scheduled an ownership interest in TAW, it is

Hand’s belief that Debtor owns the balance of TAW.             Hand asserts that he is a passive

investor/creditor of TAW and has no knowledge of TAW’s assets or liabilities.

          12.   According to Debtor’s Statement of Financial Affairs, there is currently pending

in the state of California: (a) litigation between Levy’s production company, on the one hand,

and Debtor and Wonderfish, on the other, which, upon information and belief, relates to

Wonderfish and the IP and (b) litigation between Hand and Debtor which, upon information and

belief, relates to Relentless, Wonderfish, TAW and Debtor’s improper use of funds provided by

Hand. Upon information and belief, the foregoing litigation relates to certain of the Assets (as

defined below) and that litigation is protracted and full of personal animus. Dkt. No. 1, SOFA,

p. 3.

                                   Estate Liquidation to Date

          13.   This estate has no liquid assets and the assets it does have are embroiled in

litigation. While Trustee has spoken with counsel for Levy, he has not received any offer from

him to purchase the estate’s position in the assets claimed by Hand. Thus, Hand’s offer is the

only—and therefore the best—for assets that promise little more than a seat in a courtroom.

                                    SETTLEMENT TERMS

          14.   In the interest of resolving their disputes cost-effectively and avoiding the delay,

expense, and uncertainty inherent in litigation, Trustee and Hand have agreed to settle any and




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all claims the estate may have with respect to Relentless, Wonderfish, TAW, the IP, the Real

Property, and the Causes of Action (collectively, the “Assets”). The terms of the Settlement are

as follows: 1

          (a)   Payment to the Estate. In exchange for and prior to Trustee’s performance under
                subpart (b), Hand has agreed that he will pay to the estate the sum of Five
                Thousand and 00/100 ($5,000.00) in certified funds, to be paid in a manner
                acceptable to Trustee in his sole discretion.

          (b)   Quit Claim of Assets. In exchange for and upon Hand’s performance under
                subpart (a), Trustee has agreed to quit claim the estate’s interest in the Assets to
                Hand, without warranty or representation as to ownership or value of the Assets,
                and without prejudice to the claims of any third-party with respect to the Assets.

                                       LEGAL ARGUMENT

          15.   Trustee asks the Court to enter an order approving the Settlement.

          16.   The Court has broad discretion under Fed. R. Bankr. P. 9019(a) to approve a

settlement provided that it is in the best interests of the Debtor’s estate. See In re American

Reserve Corp., 841 F.2d 159, 161 (7th Cir. 1987). The Court need not, however, “conclusively

determine claims subject to compromise, nor find that the settlement constitutes the best result

obtainable.” In re Apex Oil Co., 92 B.R. 847, 867 (Bankr. E.D. Mo. 1988) (citing In re W.T.

Grant Co., 699 F.2d 599, 613 (2d Cir. 1983)). Similarly, “a precise determination of likely

outcomes is not required, since ‘an exact judicial determination of the values in issue would

defeat the purpose of compromising the claim.’” In re Telesphere Communications, 179 B.R.

544, 553 (Bankr. N.D. Ill. 1994) (quoting In re Energy Co-Op, Inc., 886 F.2d 921, 929 (7th Cir.

1989)).     All that is required is for the Court to “canvass the issues to determine that the

settlement does not fall ‘below the lowest point in the range of reasonableness.’” Apex Oil, 92

B.R. at 867 (citation omitted).


1
  Trustee and Hand intend that any Order entered by the Court will function as Trustee and Hand’s written
Settlement Agreement.


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        17.     In assessing a proposed compromise, the Court must consider: (i) the estate’s

probability of success in the litigation; (ii) the cost and complexity of the litigation; and (iii) the

creditors’ views on the settlement, although such views are not controlling. American Reserve,

841 F.2d at 161-62; Apex Oil, 92 B.R. at 867.

        18.     Here, the cost and expense to the Trustee of pursuing the estate’s interest, if any,

in the Assets would be substantial, given the complexity of Hand’s allegations, the nature of the

transactions at issue, and the above-referenced litigation already pending in California.

Moreover, the estate has no funds to expend on inherently uncertain litigation.

        19.     Trustee and Hand have engaged in arm’s-length negotiations regarding the issues

addressed by the Settlement. Trustee has concluded in his business judgment that the Settlement

is in the best interests of the Debtor’s estate. The Settlement will (a) bring funds into the estate

for the benefit of unsecured creditors, and (b) avoid the time and expense attendant to the Trustee

pursuing claims with respect to the Assets, against which Hand has indicated an intent to

vigorously defend. Resolution of these issues will permit the Trustee to fully administer and

close the Debtor’s bankruptcy estate in a more efficient and expeditious manner.

        20.     For all of the reasons set forth herein, the Trustee asks that the Court enter an

order approving the Settlement.

                                               Notice

        21.     This Motion has been filed electronically, and notice thereof will be provided

electronically on the date hereof, via the Court’s CM/ECF System, to (a) counsel for the United

States Trustee, and (b) entities, or their counsel, who have filed a notice of appearance through

the Court’s CM/ECF System. Additionally, this Motion and notice thereof will be served on the

Debtor via U.S. mail and via electronic mail. Further, this Motion and notice thereof will be




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served on all creditors listed on the Creditor Mailing Matrix via U.S. Mail. The Trustee asks the

Court to find that such notice is sufficient and to approve the same under Fed. R. Bankr. P. 9007.

        WHEREFORE, Trustee prays that an order be entered (i) approving the Settlement as

described herein, and (ii) granting such further relief as is reasonable and just.



Dated: October 24, 2018                               PHILIP V. MARTINO, Trustee


                                                      By:     /s/ Philip V. Martino
                                                              One of his attorneys
Philip V. Martino
Travis J. Eliason
QUARLES & BRADY LLP
300 N. LaSalle Street, Suite 4000
Chicago, Illinois 60654-3406
(312) 715-5000




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